     Case 23-10410-mkn             Doc 136       Entered 06/27/23 12:27:42             Page 1 of 3



 1   BRIAN D. SHAPIRO
     SUB-CHAPTER V TRUSTEE
 2
     510 S. 8th Street
 3   Las Vegas, NV 89101
     email: brian@trusteeshapiro.com
 4   Tel: (702) 386-8600
     Fax: (702) 383-0994
 5

 6

 7
                                UNITED STATES BANKRUPTCY COURT
 8
                                   FOR THE DISTRICT OF NEVADA
 9
         In re:                                               Case No. 23-10410-MKN
10                                                            Chapter 11
         TRACY LEE HURST-CASTL
11
                                                              SUB-CHAPTER V TRUSTEE’S
12                          Debtor.                           STATEMENT AS TO MOTION TO
                                                              DISMISS
13

14
                  Brian D. Shapiro, the Sub-Chapter V Trustee provides his statement as to the Motion
15
     to Dismiss (“Statement”).1 This Statement is based upon the attached points and authorities,
16
     the pleadings filed in this case and any oral argument that this Court may permit.
17
     DATED: June 27, 2023
18

19
                                                  By:       /s/ Brian D. Shapiro, Trustee
                                                    BRIAN D. SHAPIRO
20                                                  Sub-Chapter V Trustee
                                                    510 S. 8th Street
21
                                                    Las Vegas, NV 89101
22                                                  email: brian@trusteeshapiro.com
                                                    Tel: (702) 386-8600
23                                                  Fax: (702) 383-0994
24

25

26

27

28   1
      The Trustee incorporates by reference his statement filed on June 9, 2023 as ECF No. 109 pertaining to Plan
     Confirmation.


                                                        -1-
     Case 23-10410-mkn        Doc 136      Entered 06/27/23 12:27:42        Page 2 of 3



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3          The Trustee points this Court and the parties to a recent published decision entitled In

 4   re Rita Ramos Curiel, Hamilton v. Curiel (In re Curiel), BAP CC-22-1246-SGF (B.A.P. 9th
 5
     Cir. June 23, 2023). Such case discusses feasibility in the context of a Sub-Chapter V Case.
 6
            Here, the Trustee has concerns regarding the feasibility of this case. The basis for these
 7
     concerns lies in the fact that the Debtor, unfortunately, lacks any viable source of income.
 8

 9   Currently, her only means of income comes from family loans provided primarily by her ex-

10   husband. While the Debtor asserts her intention to secure a Debtor in Possession Loan, it is
11
     important to note that no such application has been brought to the attention of the Trustee, nor
12
     has any motion for DIP financing been filed.
13
            Should this Court lean towards dismissing the case, the Trustee requests the Court
14

15   reserve jurisdiction to ensure that his professional services are duly compensated. Preserving

16   the Trustee's ability to file a fee application and ensuring timely payment of his fees by the
17
     Debtor would serve the interests of justice and maintain the integrity of the proceedings.
18

19

20

21
     DATED: June 27, 2023
22
                                            By:       /s/ Brian D. Shapiro, Trustee
23
                                              BRIAN D. SHAPIRO
24                                            Sub-Chapter V Trustee
                                              510 S. 8th Street
25                                            Las Vegas, NV 89101
26
                                              email: brian@trusteeshapiro.com
                                              Tel: (702) 386-8600
27                                            Fax: (702) 383-0994
28




                                                 -2-
     Case 23-10410-mkn        Doc 136    Entered 06/27/23 12:27:42     Page 3 of 3



 1
                                     CERTIFICATE OF SERVICE
 2

 3

 4
     On June 27, 2023, this pleading was served electronically through the Bankruptcy Court’s

 5
     CM/ECF Noticing System to all registered users in this case.

 6

 7   DATED: June 27, 2023
 8
                                          By:      /s/ Brian D. Shapiro, Trustee
 9                                          BRIAN D. SHAPIRO
                                            Sub-Chapter V Trustee
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                               -3-
